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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
ELECTRONIC PRIVACY INFORMATION )
CENTER,                                )
                                       )
                  Plaintiff,           )
                                       )
      v.                               )     Civil Action No. 19-810 (RBW)
                                       )
UNITED STATES DEPARTMENT OF             )
JUSTICE,                               )
                                       )
                  Defendant.           )
_______________________________________)

                                             ORDER

        In accordance with the oral rulings issued by the Court at the status conference held on

October 28, 2020, via teleconference, it is hereby

        ORDERED that the Court’s September 30, 2020 Order, ECF No. 131, is MODIFIED as

follows:

    •   Consistent with the rulings set out in the Court’s September 30, 2020 Memorandum

        Opinion, the information redacted from the final two pages of the United States

        Department of Justice’s October 10, 2019 production, which were submitted for in

        camera review to the Court on March 30, 2020, is appropriately withheld pursuant to

        Exemption 7(C).

It is further

        ORDERED that, on or before December 3, 2020, the parties shall file a joint status

        report regarding the status of negotiations regarding attorneys’ fees and costs.
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SO ORDERED this 28th day of October, 2020.


                                             REGGIE B. WALTON
                                             United States District Judge
